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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                            CASE NO.: 1:21-CV-21079-BLOOM/Torres

  SECURITIES AND EXCHANGE COMMISSION,

          Plaintiff,

  v.

  MINTBROKER INTERNATIONAL, LTD.,
  f/k/a SWISS AMERICA SECURITIES LTD.
  and d/b/a SURETRADER, and
  GUY GENTILE, a/k/a GUY GENTILE NIGRO,

        Defendants.
  ___________________________________________/

                            PLAINTIFF’S AMENDED1 WITNESS LIST

  Will Call

       1. Guy Gentile (estimate 6 hours)
           c/o Gabriela M. Ruiz, Esq.
           Ford O’Brien Landy LLP
           One Biscayne Tower
           2 South Biscayne Boulevard, Suite 3200
           Miami, FL 33131

       2. Ross Cameron (estimate 4 hours)
          Warrior Trading Inc.
          c/o Nick Morgan, Esq.
          Paul Hastings LLP
          515 S Flower Street, 25th Floor
          Los Angeles, CA 90071

       3. Mazen Agha (estimate 2 hours)
          Aubrey, TX

       4. Philip Dorsett (estimate 5 hours)
          Nassau, Bahamas


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   Plaintiff is amending this list to add rebuttal witnesses based upon this Court’s ruling in the Order
  on Motion for Clarification, ECF No. [272].
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     5. Yaniv Frantz (estimate 5 hours)
        c/o Sean McKessy, Esq.
        Phillips & Cohen LLP
        2000 Massachusetts Ave NW
        Washington, DC 20036

     6. Orestes Jimenez (estimate 2 hours)
        Miramar, FL

     7. John Kurisko (estimate 4 hours)
        Day Trading Radio
        Nyack, NY

     8. David F. MacNair (Expert) (estimate 2 hours)
        McNair Consulting
        Rockville Centre, NY

  May Call

     9. Adam C. Ford, Esq.
         Ford O’Brien Landy LLP
         275 Madison Avenue, 24th Floor
         New York, NY 10016

     10. Igal Wizman, Joint Official Liquidator of MintBroker International Ltd. in Bahamas
         c/o Warren Gluck, Esq.
         Holland & Knight
         31 West 52 Street
         New York, NY 10019

     11. Bahamian Securities Commission Representative
         Bahamas

     12. FINRA Representative

     13. Simona Suh

     14. Gurbir Grewal

     15. Nicholas Grippo

     16. Guy Gentile’s witnesses

     17. Impeachment and/or rebuttal witnesses as necessary




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  By Designation

     18. Stephen Darville
         Nassau, Bahamas

     19. Antonio Collie
         Nassau, Bahamas

     20. Janay Symonette Pyfrom
         Nassau, Bahamas

     21. Drameko Moore
         Little Blair, Bahamas

     22. Edward Cooper
         c/o Dwana Davis
         Amicus Chambers
         Suite No. 5 Union Court
         Elizabeth Avenue
         Nassau, Bahamas
  June 3, 2024                          Respectfully submitted,

                                       /s/ Alice Sum_____________
                                       Alice Sum
                                       Senior Trial Counsel
                                       Fla Bar No.: 354510
                                       Phone: (305) 416-6293
                                       Email: sumal@sec.gov

                                       Alise Johnson
                                       Senior Trial Counsel
                                       Fla. Bar No. 0003270
                                       Direct Dial: (305) 982-6385
                                       Email: johnsonali@sec.gov

                                       Attorneys for Plaintiff
                                       SECURITIES AND EXCHANGE
                                       COMMISSION
                                       801 Brickell Avenue, Suite 1950
                                       Miami, Florida 33131
                                       Telephone: (305) 982-6300
                                       Facsimile: (305) 536-4154




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